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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

GARY WASHINGTON,                                   *

                             Plaintiff,            *
       v.                                                  Civil No.: 1:19-cv-02473-SAG
                                                   *
BALTIMORE POLICE
DEPARTMENT, et al.,                                *

                             Defendants.           *

*      *       *      *      *      *       *      *       *      *      *       *      *

                                           ORDER

       Upon consideration of Defendants’, Baltimore Police Department and the Mayor and City

Council of Baltimore, Motion to Dismiss, and any opposition thereto, it is this ________ day of

_________________ 2019, by the United States District Court for the District of Maryland, hereby

ORDERED:

       1.      That the Motion is hereby GRANTED; and

       2.      That the Amended Complaint is hereby DISMISSED as to Defendants with

       prejudice and without leave to amend; and

       3.      That judgment is hereby ENTERED in favor of Defendants and against the

       Plaintiff.



                                                   __________________________________
                                                   UNITED STATES DISTRICT JUDGE
